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 4 doronweinberg@aol.com

 5 Attorneys for Defendant
   REED OLSON
 6
                                             UNITED STATES DISTRICT COURT
 7
                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA, )                                 Case No. CR-06-00346 DLJ
 9                                 )
                 Plaintiff,        )
10                                 )                      STIPULATION PERMITTING TRAVEL
                 vs.               )                      OUTSIDE DISTRICT; PROPOSED ORDER
11                                 )
     REED C. OLSON, et. al.,       )
12                                 )
                 Defendants.       )
13   _____________________________ )

14            IT IS HEREBY STIPULATED between the parties, Doron Weinberg, attorney for

15 defendant Reed C. Olson, and George L. Bevan, attorney for plaintiff, United States of America,

16 that defendant Reed C. Olson be permitted to travel from the Northern District of California on

17 Friday, October 6, 2006 to Boise, ID, for the purpose of assisting his girlfriend, Brandy Lindstrum

18 in settling the affairs of her father, who recently passed away. Mr. Olson will return to the

19 Northern District of California by Sunday, October 8, 2006.

20            In addition, Mr. Olson has contacted Pretrial Services and they have indicated that they

21 have no objection to his requested travel. He will provide them with a full itinerary before

22 October 6 and, will adhere to any rules that may be set for him while he is away.

23                                                        WEINBERG & WILDER

24 Dated: October 3, 2006                           By:    /s/ Doron Weinberg
                                                          DORON WEINBERG
25
     Stipulation Permitting Travel Outside
26   District; Proposed Order                                1
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 1

 2

 3 Dated: October 3, 2006                         /s/ George L. Bevan
                                                 GEORGE L. BEVAN
 4                                               Assistant United States Attorney
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 5                                                        TES D      TC
     IT IS SO ORDERED:                                  TA




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                                               NO
 8 Dated: October 3, 2006                        _______________________________________
                                                      Judge W




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                                                 HONORABLE WAYNE D. BRAZIL
                                                RT




                                                                                 LI
 9                                                 E R States Magistrate
                                                 United                    C Judge
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     Stipulation Permitting Travel Outside
26   District; Proposed Order                           2
